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            EXHIBIT C
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December 23, 2024



VIA EMAIL

Bryan Freedman
Liner Freedman Taitelman + Cooley LLP
1801 Century Park West, 5th Floor
Los Angeles, CA 90067

        RE: Cease and Desist Demand

Dear Mr. Freedman:

        As you know, we represent Blake Lively, Ryan Reynolds, and their related entities,
including but not limited to Betty Buzz, LLC, Blake Brown, Aviation Gin, Mint Mobile, and
Maximum Effort Productions (collectively, the “Lively-Reynolds Parties”) with respect to a
dispute between the Lively-Reynolds Parties and Wayfarer Studios LLC (“Wayfarer”), its co-
founders Justin Baldoni (“Baldoni”) and Steve Sarowitz (“Sarowitz”), CEO Jamey Heath
(“Heath”), and their related companies, affiliates, associates, or agents (collectively, the “Wayfarer
Parties”), as well as Melissa Nathan, The Agency Group PR LLC, Jed Avery Wallace, Street
Relations, Inc., Jennifer Abel, and RWA Communications LLC (collectively, the “Wayfarer
Associates”) (the Wayfarer Parties and the Wayfarer Associates shall be collectively referred to as
“you” or “your”).

      This letter serves to remind you of your ethical obligations, notify you that you have
defamed and engaged in further unlawful retaliation against Ms. Lively, and to demand that
you immediately cease and desist from making further defamatory, and retaliatory,
statements relating to Ms. Lively.

         Lawyers are not publicity agents. We are required to follow a different set of professional
standards than publicists and crisis managers. One of those standards is the prohibition against
knowingly making factual misrepresentations, even when doing so would help defend or promote
our clients’ interests. As the California Rules of Professional Conduct mandate: “a lawyer shall
not knowingly:[] (a) make a false statement of material fact or law to a third person…” CA ST
RPC Rule 4.1. “A lawyer is required to be truthful when dealing with others on a client's behalf.
. . . A misrepresentation can occur if the lawyer incorporates or affirms the truth of a statement of
another, person[] that the lawyer knows[] is false.” On December 21, 2024, you issued a public
statement to the press (hereinafter: “Statement”), contemporaneously with a leaked version of Ms.
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Lively’s Complaint (which at that point had not been publicly disclosed). Apart from constituting
further retaliation and defamation per se, your Statement violated Rule 4.1 in multiple respects.

       For starters, your Statement falsely asserts that “there were no proactive measures taken
with media or otherwise,” that the “representatives of Wayfarer Studios still did nothing
proactive nor retaliated, and only responded to incoming media inquiries to ensure balanced
and factual reporting and monitored social activity.” These claims are false. As you know,
Wayfarer Studios’ team deployed numerous “proactive measures” with traditional and social
media, and did much of that work before Wayfarer had ever received “incoming media inquiries.”

        For example, on August 1, 2024, before the Film premiered, and well before Wayfarer had
received “incoming media inquiries” to which to respond, Ms. Abel wrote to Mr. Heath that she
had “fully briefed” a “friend of 12+ years who writes for people magazine, Fox News, in touch,
[and] us weekly,” and that her “friend” was “armed and ready to take this story of Blake
weaponizing feminism to any of her outlets the minute we give her the green light. She hates
Blake, has heard this story before, and will do anything for us.” This “proactive measure” was
designed to harm Ms. Lively’s reputation, in clear violation of the language of the anti-retaliation
clause in Ms. Lively’s rider among other things, and took place before any receipt of “media
inquiries.”




       A few days later, on August 4, 2024, again prior to the Film’s premier, Ms. Nathan wrote
to Ms. Abel that she had been in touch with her “friend” – an editor at the Daily Mail – who Ms.
Nathan reported was “ready when we are.” As with the outreach described above, this proactive
media engagement occurred prior to the alleged “incoming media inquiries” that later arrived.




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       As you know, the next day after this, Mr. Baldoni sent a screenshot of an article accusing
a prominent female celebrity of “bullying,” and told Ms. Abel “this is what we would need,” to
which Ms. Abel responded in the affirmative and mentioned her plans to work with Ms. Nathan
on “social and digital” media platforms to accomplish Mr. Baldoni’s objective.




       Of course, as you know, Ms. Nathan’s written plan expressly discussed engaging in
proactive rather than reactive media techniques—including, critically, “full social account take
downs,” “starting threads of theories,” and “creation of social fan engagement.”

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        Your Statement misleadingly characterizes these kinds of communications as “just internal
scenario planning and private correspondence to strategize,” but the implication of that claim—
that none of these plans and strategies were ever implemented—is demonstrably false. Instead,
your clients retained a “digital team,” including Mr. Wallace, to engage in “social manipulation,”
and “social media mitigation and proactive fan posting.” On August 7, 2024, Ms. Abel wrote to
Ms. Nathan about “need[ing] to put the social media combat plan…into motion, to which Ms.
Nathan agreed, “so do I.”




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      Emails suggest that your clients met with Mr. Wallace the very next day, on August
8, 2024. In an email to Ms. Nathan and Mr. Wallace, Ms. Abel wrote: “TAG team, is this
something you can bring them up to speed on so they can hit the ground running?”




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        Further, in an email titled “Social / Digital Mitigation / Remediation,” your clients
confirmed their earlier discussions in writing. Specifically, Ms. Abel confirmed discussing
“social media mitigation and proactive fan posting to counter the narrative” as well as
“social manipulation (from the separate team based in Hawaii…).”




       On August 10, 2024, your clients messaged each other about the results the plan, and Mr.
Wallace’s work in particular, had yielded—noting “a shift on social, due largely to [Mr. Wallace]
and his team’s efforts to shift the narrative….”




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        In the days that followed, your clients regularly discussed “amplifying,” “boosting,”
“engagement in the comments,” and flagging to Mr. Wallace online content that favored Mr.
Baldoni and disfavored Ms. Lively. For example, with knowledge that the marketing of the Film
was expressly following Sony’s Marketing Plan, which Mr. Baldoni himself had followed prior to
August of 2024, the Wayfarer team targeted and then amplified TikTok videos that mistakenly
blamed Ms. Lively, rather than the Marketing Plan, for not speaking about domestic violence in
the press surrounding the release of the Film (while separately, and misleadingly, portraying Mr.
Baldoni as the only one concerned with domestic violence). See Complaint ¶¶ 78-88, 150. These
were precisely the services contemplated in the quote that Ms. Nathan had circulated on August 6.

        On August 18, 2024, Ms. Nathan described the work of Mr. Wallace and his team as “doing
something very specific in terms of what they do” and confirmed that Mr. Wallace and Mr. Heath
had “connected on this” the day before. Ms. Nathan made clear that Mr. Wallace’s team did not
use “bots” because “bots look fake to anyone,” and “[a]ny digital team these days is far more
intelligent to utilise something so obvious.” This is fully consistent with Ms. Nathan’s description,
in an earlier message, that the digital team’s efforts to change the narrative would be “untraceable.”




        Worse, you have been aware of your clients’ campaign against Ms. Lively since it began.
We understand Wayfarer (and perhaps others) retained you at the same time that this retaliatory
campaign was launched, and that you have been planning your response to Ms. Lively’s claims
since that time. Thus, the falsity of your Statement was not only knowing, it was almost certainly
premeditated.

       And your statement is particularly egregious given your friendship with Mr. Wallace, who
you know is not in the business of “reactive” press engagement. Indeed, it seems that you are “very
close” with Mr. Wallace, which suggests that discovery will reveal your knowledge of his

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proactive social media influence work on behalf of Wayfarer since (at latest) August 2024. You
are therefore not just potentially liable for defamation, but in Ms. Lively’s existing complaint, you
are a fact witness likely in possession of documents and information relevant to the retaliation
campaign alleged therein. Further, to the extent (as suggested in the message below) that you have
been communicating with Mr. Wallace and other members of the Wayfarer team via Signal (or
other ephemeral messaging platforms), you are hereby on notice that you are legally obligated to
preserve those communications.1




        Your Statement constitutes defamation per se. Relying upon the false factual allegations
above, you (falsely) allege that the Complaint Ms. Lively filed with the California Civil Rights
Department is “completely false,” that the allegations contained in that complaint are
“categorically false,” and that Ms. Lively filed the Complaint “with an intent to publicly hurt and
rehash a narrative in the media.” The necessary implication of your Statement, therefore, is that
Ms. Lively has made knowingly false factual allegations in a verified pleading to a state
administrative agency, which (if true) would be a crime under California state law. That is per se
defamatory, and the fact that you are a lawyer purporting to defend your client in public does not
immunize you from defamation liability. See Freeman v. Giuliani, No. CV 21-3354 (BAH), 2022
WL 16551323 (D.D.C. Oct. 31, 2022) (lawyer’s false factual statements, made in public, even
though purportedly on behalf of a client, can constitute defamation per se). Because you made
these false statements in a functional press release to media outlets around the world, which you
released alongside a leaked version of the Complaint which had not yet been publicly disclosed,
you have forfeited any privilege from suit under California law, see Rothman v. Jackson, 49 Cal.
App. 4th 1134, 1138 (1996) (holding that the litigation privilege does not extend to “litigating in
the press” because doing so risks “poisoning of jury pools and bringing disrepute upon both the
judiciary and the bar”); Paglia & Associates Construction, Inc. v. Hamilton, 98 Cal. App. 5th 318,
322 (2023); GetFugu, Inc. v. Patton Boggs LLP, 220 Cal. App. 4th 141, 152 (2013) (same).




1
  Communications related to your role in the retaliatory scheme, if any, would not be protected by the attorney-client
privilege, which does not protect communications that are not in furtherance of rendering legal advice, among other
things. See, e.g., Montebello Rose Co. v. Agricultural Labor Relations Bd., 119 Cal. App. 3d. 1, 32 (1981)

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        We accordingly demand that you cease and desist from further defamation of our
client, and that you take steps to preserve all of your communications relating to your
Statement, including, without limitation, all documents, electronically stored information,
and metadata in your possession, custody, or control that relate to, or reasonably calculated
to lead to the discovery of evidence related to this Matter in any way. As you know, State and
federal law obligates you to comply with this demand to preserve evidence. See Charlestown
Capital Advisors, LLC v. Acero Junction, Inc., 337 F.R.D. 47 (2020); Zubulake v. UBS Warburg
LLC, 220 F.R.D. 212 (2003). This includes the duty to immediately direct all of your employees,
agents, and representatives to safeguard relevant records and to create mechanisms for collecting
the preserved records so that they might be searched. See VOOM HD Holdings LLC v. EchoStar
Satellite LLC, 93 A.D.3d 33 (2012). Failure to immediately cease and desist all such unlawful
conduct, and to comply with this preservation notice may trigger significant legal consequences
and a host of damages, including but not limited to economic and non-economic damages, punitive
damages, attorneys’ fees and costs.

                                                    Respectfully,



/s/ Esra. A Hudson                                  /s/ Michael J. Gottlieb
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cc:     Stephanie Roeser, Manatt, Phelps & Phillips LLP

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        Kristin Bender, Willkie, Farr & Gallagher, LLP




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